Sep. Gabbl B:17-49M3788

Document 16-1

Filed 09/21/17 Page 1 de.73PagelP, #6 61

PrimeGare Medical, Inc./PrimeCare Medical of WV, Inc,

JailPrison Non Formulary Request Form

2017-07-13 15:50:38
Billups
a

Date of Requast:
Pallant Name:
Pailant SSN:
Patlent Number;  aul(61942
PatlentOOB: [i
incarceration Date; 2017-03-04 00:00:00

Michael

Facility Name: WRJ
Sex: M

PrimaCare Provider Requesting:

Outside Provider Ordering Name:

Was contact made far formulary substitute:
Currant Meds/Trealments/Restrictions:

CorEMR Probleme:

Allergies:

Reason/Diagnosis for raquest:

Listof other medications that were alempted:
Medication Requested:
Dosage:

Frequency:

Duration of Treatment/Length of Slay:

Can patient supply or insurance be utilized:

Was patient taking prior arreyt? ;
(s patient compliant?:
Is patient an out of facility worker?:

Dale of admission?:

ifasthmatle what is peak flow? Frequency of albuterol?:

How was patient getting this medication prior to arrest?;

baldera

Ibuprofen - 200mg - 2 ‘Tab By Mouth BID PRN = Ena: 2017-07-13 00;00:00 Cir
Susp (OT+Left] Into Left Ear BID - End: 2017-07-24 00:00:00

Alcohol] Withdrawal Heroln Withdrawal Benzo Withdrawal! Opiate Withdrawal C
PCN: no tylenol

Moderate atitis externa of left ear
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CIPRODEX

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2 waeks

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a-4-17

Requester Name: Regina Bryant, LPN

Cost of Madication’ $196,2700

Recornmendad Substitute or Notas:

Decision; APPROVED
Notes; whal ofher drops have baon atternptad
User: Todd W. Haskins, URC

Decision Date; 2077-07-14. 12:18:36

Sep. Oage13:13+69PM3788 Document 16-1 Filed 09/21/17 Page 2 of,7 gjapellp #762
PrimeGare Medical, Inc/PrimeCare Medical of WY, Inc,
JallPrison Non Formulary Request Form
Date of Request: 2017-07-31 14:34:28
Patlant Name: Billups Michaal
Patent SSN; ay
Patlent Number; aul161942
Patentboe; i
Incarcaration Date: 2017-08-04 00:00:00
Facility Narne: WRU
Sex: Mi
PrmeCure Provider Requesting: Dr, Alfrod Baldera, MO
Outside Provider Ordering Name:
Was contact made for formulary substitute:
Current Meds/Treatments/Restrictions: Paxil - 20mg - 1 Tab [PO] By Mouth QD - End; 2017-10-14 00:00:00 Ciprodex
[OT-Left] Into Left Ear BID ~ End: 2017-08-14 00:00:00
CorEMR Problems; Alcohol V Withdrawat Heroin Withdrawal Benzo Withdrawal Oplate Withdrawal ¢
Allargias: PGN- no tytenol
Reason/Otagnosls for request: Moderate otitis externa of loft ear
‘List of other medications thet were attempted: nol applicable
Medication Requested: Cipradex Otlo (7.6Ml)
Dasage: (7.5MI)
Frequency: 1 Susp (OT-Left] Into Left Ear BID
Duration of Treatment/Length of Stay: 07/28/2017 08/4/2017
Can palient supply or insurance be ulllized: no
lfasthmatic what Is peak flow? Fraquency of albuterol?; not applleable
‘Was patient taking prior arrest? : no.
le pallanl compliant?: yas
ls patent an out of facility warker?; no
How was patlent getting this medication prior to arrest?; no
Date of admission?: 03/04/2017 02:16

Requester Name: Jennifer Hatfield, MA

Cost of Medication: $496,2700
Recommendad Substitute or Notgs;

Dectslor: APPROVED

Notes:

Usar Todd W. Haskins, URC

Dacision Date: 2017-07-31 16:08:38

Sep, CA9G 19:13+09PH378

WUC DVUS = UNGPULEN , W

by)

Michael Shawn Billups ums

ili JMS iD: aulte4942

#82068

Reports
MAR by Month

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Agency: County Allergies:
Location: F4 PCH- no tylena]

Medication Administration Record (MAR)

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Initials Name
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RB Bryant, LPN, Regina
CR Ralliff, LPN, Grystalyn
jeD {LPN Dillon, LPN, Shannan
KR Richardson, LPN, Kendea
sc {Chilstian, LPN, Susie
KT ILPN Terre, LPN, Kristin
sc Carey, LPN, Sarah
cw Workman, RN, Cathrine
KM LPN Moore, LPN, Kryatle L
July 2017

Total

Medication Clinician 4,

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SE Gat AGAR by Month | v5.0.0 age 7 ONG, BPR GP SF

‘ Sex: Male Agency: Gounly Allongles:
Michael Shawn Billups jppssidossambgentie Location: Ft PON: no lylenol
Height: 6 Gin JMS ED: autie1e42
#82058
Reports
MAR by Month

Medication Administration Record (MAR)

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Intiials Name
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iG Carey, LPN, Sarah
CR alll, LON, Crystatyn
KR Richardson, LPN, Kandra
sD EPN Dilton, LPN, Shannan
Kt LPN Turner, LPN, Kristin
aH LPN Hughes, LPN, Joshua
sc Christian, LPN, Susie
August 2017

Medication Clinician "9 ttima 1 2A AS & T A D 1 14-4243 44 1840471919 20.21 2223.24 26 25 27 28203091 %

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Notes
Medivatlon Date ilser Note
Co OTLed Inte tat Kar BIO 08/03/2017 10:25 | Richardson, LPN, Kendra Called for Inmate x3 with no response
PerenirT Lot ine Left ar BID 8/06/2017 70:19 Richardson, LPN, Kendra = [Caflod for xd w/ no response,
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eI OT-LaG Wa Let carpin 0/8/2017 10:22 |Richardson, LPN, Kendra [Gallo for x3 w/ no raeponse

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